 8:06-cr-00284-LES-TDT            Doc # 95   Filed: 10/16/07       Page 1 of 1 - Page ID # 256




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )       Case No. 8:06CR284
                                             )
                     Plaintiff,              )             ORDER
                                             )       TO WITHDRAW EXHIBITS
              vs.                            )       OR TO SHOW CAUSE WHY
                                             )       EXHIBITS SHOULD NOT BE
JACK W. DUKE, JR.,                           )            DESTROYED
                                             )
                     Defendant.              )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for defendant shall either

1) withdraw the following exhibits previously submitted in this matter within 15 calendar

days of the date of this order, or 2) show cause why the exhibits should not be destroyed:



                                   Exhibit number(s): 105-109
                                  Hearing type(s): Sentencing
                                   Date of Hearing(s): 8/3/07


       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this16th day of October, 2007.



                                                     s/Lyle E. Strom
                                                     United States District Judge

                          proc\Exhibits\Form-Order to Withdraw or OSC Destroy, appeal time expired.wpd
                                                                                  Approved 02/15/07
